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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                       CASE NO.
   ADIDAS AG, ADIDAS INTERNATIONAL
   MARKETING B.V., and ADIDAS AMERICA, INC.,

                          Plaintiffs,

   vs.

   THE INDIVIDUALS, PARTNERSHIPS AND
   UNINCORPORATED ASSOCIATIONS IDENTIFIED
   ON SCHEDULE “A,”

                          Defendants.

                                                              /

                 COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

         Plaintiffs, adidas AG, adidas International Marketing B.V., and adidas America, Inc.,

  (collectively “Plaintiffs”), hereby sue Defendants, the Individuals, Partnerships, and

  Unincorporated Associations identified on Schedule “A” hereto (collectively “Defendants”).

  Defendants are promoting, selling, offering for sale and distributing goods bearing counterfeits

  and confusingly similar imitations of Plaintiffs’ trademarks within this district through various

  Internet based e-commerce stores and fully interactive commercial Internet websites operating

  using the seller identities and domain names set forth on Schedule “A” hereto (the “Seller IDs

  and Subject Domain Names”). In support of their claims, Plaintiffs allege as follows:

                                   JURISDICTION AND VENUE

         1.      This is an action for federal trademark counterfeiting and infringement, false

  designation of origin, cybersquatting, common law unfair competition, and common law

  trademark infringement pursuant to 15 U.S.C. §§ 1114, 1116, and 1125(a) and (d), and The All

  Writs Act, 28 U.S.C. § 1651(a), and Florida’s common law. Accordingly, this Court has subject
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  matter jurisdiction over this action pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and

  1338. This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over Plaintiffs’

  state law claims because those claims are so related to the federal claims that they form part of

  the same case or controversy.

          2.     Defendants are subject to personal jurisdiction in this district, because they direct

  business activities toward and conduct business with consumers throughout the United States,

  including within the State of Florida and this district through at least the Internet based e-

  commerce stores and fully interactive commercial Internet websites accessible in Florida and

  operating under the Seller IDs and Subject Domain Names.

          3.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since Defendants are,

  upon information and belief, aliens engaged in infringing activities and causing harm within this

  district by advertising, offering to sell, selling and/or shipping infringing products into this

  district.

                                          THE PLAINTIFFS

          4.     Plaintiff adidas AG (“adidas AG”) is a joint stock company organized and

  existing under the laws of the Federal Republic of Germany, having its office and principal place

  of business at Postach 1120, D-91072 Herzogenaurach, Federal Republic of Germany. adidas

  AG is currently, and for years has been, one of the world’s leading manufacturers of athletic

  footwear and apparel, including products bearing the distinctive adidas Mark, Trefoil Mark, 3

  Bars Logo, Three-Stripe Mark, THE BRAND WITH THE 3 STRIPES Mark, CLIMALITE

  Mark, CLIMAWARM Mark, CLIMACOOL Mark, BOOST Mark, STAN SMITH Mark, and

  CLIMACHILL Mark.




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          5.      Plaintiff adidas International Marketing B.V. (“adidas International”) is a

  corporation organized and existing under the laws of Netherlands, having its principal place of

  business in the Netherlands. adidas International is wholly owned by adidas AG and its

  affiliates.

          6.      Plaintiff adidas America, Inc. (“adidas America”) is a corporation organized and

  existing under the laws of the State of Oregon, having its principal place of business at 5055 N.

  Greeley Avenue, Portland, Oregon, 97217. adidas America is wholly owned by adidas AG and

  its affiliates, and within this country adidas America is a licensed distributor of adidas-branded

  merchandise, including goods bearing the distinctive adidas Mark, Trefoil Mark, 3 Bars Logo,

  Three-Stripe Mark, THE BRAND WITH THE 3 STRIPES Mark, CLIMALITE Mark,

  CLIMAWARM Mark, CLIMACOOL Mark, BOOST Mark, STAN SMITH Mark, and

  CLIMACHILL Mark. adidas AG, adidas International, and adidas America shall be referred to

  herein collectively as “adidas.”

          7.      Plaintiffs’ trademarked goods are sold through various channels of trade within

  the State of Florida, including this district. Defendants, through the sale and offer to sell

  counterfeit and infringing versions of Plaintiffs’ branded products, are directly, and unfairly,

  competing with Plaintiffs’ economic interests in the State of Florida and causing Plaintiffs harm

  within this jurisdiction.

          8.      Like many other famous trademark owners, Plaintiffs suffer ongoing daily and

  sustained violations of their trademark rights at the hands of counterfeiters and infringers, such

  as Defendants herein, who wrongfully reproduce and counterfeit Plaintiffs’ trademarks for the

  twin purposes of (i) duping and confusing the consuming public and (ii) earning substantial

  profits across their ecommerce stores. The natural and intended byproduct of Defendants’



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  actions is the erosion and destruction of the goodwill associated with Plaintiffs’ names and

  associated trademarks and the destruction of the legitimate market sector in which they operate.

            9.    In order to combat the indivisible harm caused by the combined actions of

  Defendants and others engaging in similar conduct, each year Plaintiffs expend significant

  monetary resources in connection with trademark enforcement efforts, including legal fees,

  investigative fees, and support mechanisms for law enforcement such as field training guides and

  seminars. The exponential growth of counterfeiting over the Internet has created an environment

  that require companies, such as Plaintiffs, to expend significant time and money across a wide

  spectrum of efforts in order to protect both consumers and themselves from the ill effects of

  confusion and the erosion of the goodwill connected to Plaintiffs’ brands.

                                        THE DEFENDANTS

            10.   Defendants are individuals and/or business entities of unknown makeup, each of

  whom, upon information and belief, either reside and/or operate in foreign jurisdictions, or

  redistribute products from the same or similar sources in those locations and/or ship their goods

  from the same or similar sources in those locations to shipping and fulfillment centers within the

  United States to redistribute their products from those locations. Defendants have the capacity to

  be sued pursuant to Federal Rule of Civil Procedure 17(b). Defendants target their business

  activities toward consumers throughout the United States, including within this district through

  the simultaneous operation of the Internet e-commerce stores via Internet marketplace websites

  under the Seller IDs or the fully interactive Internet websites under the Subject Domain Names.

            11.   Defendants use aliases in conjunction with the operation of their businesses,

  including but not limited to those identified by the same Defendant Number on Schedule “A”

  hereto.



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          12.     Defendants are the past and present controlling forces behind the sale of products

  bearing counterfeits and infringements of Plaintiffs’ trademarks as described herein using at least

  the Seller IDs and Subject Domain Names.

          13.     Defendants directly engage in unfair competition with Plaintiffs by advertising,

  offering for sale, and selling goods bearing counterfeits and infringements of one or more of

  Plaintiffs’ trademarks to consumers within the United States and this district through Internet

  based e-commerce stores or commercial Internet websites using, at least, the Seller IDs and

  Subject Domain Names and additional names, seller identification aliases, and domain names not

  yet known to Plaintiffs. Defendants have purposefully directed some portion of their illegal

  activities towards consumers in the State of Florida through the advertisement, offer to sell, sale

  and/or shipment of counterfeit and infringing branded versions of Plaintiffs’ goods into the State.

          14.     Defendants have registered, established or purchased, and maintained the Seller

  IDs and Subject Domain Names. Defendants may have engaged in fraudulent conduct with

  respect to the registration of the Seller IDs and Subject Domain Names by providing false and/or

  misleading information to their domain name registrars or the Internet marketplace websites

  where they sell during the registration or maintenance process related to their respective Seller

  IDs and Subject Domain Names. Upon information and belief, many Defendants have registered

  and/or maintained their Seller IDs and Subject Domain Names for the sole purpose of engaging

  in illegal counterfeiting activities.

          15.     Defendants will likely continue to register or acquire new seller identification

  aliases and domain names for the purpose of selling and offering for sale goods bearing

  counterfeit and confusingly similar imitations of Plaintiffs’ trademarks unless preliminarily and

  permanently enjoined.



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         16.     Defendants use their Internet-based businesses in order to infringe the intellectual

  property rights of Plaintiffs and others.

         17.     Defendants’ business names, i.e., the Seller IDs and Subject Domain Names,

  associated payment accounts, and any other alias seller identification names and domain names

  used in connection with the sale of counterfeit and infringing goods bearing one or more of

  Plaintiffs’ trademarks are essential components of Defendants’ online activities and are one of

  the means by which Defendants further their counterfeiting and infringement scheme and cause

  harm to Plaintiffs. Moreover, Defendants are using Plaintiffs’ famous names and/or trademarks

  to drive Internet consumer traffic to their e-commerce stores and websites operating under the

  Seller IDs and Subject Domain Names, thereby increasing the value of the Seller IDs and Subject

  Domain Names and decreasing the size and value of Plaintiffs’ legitimate marketplace at

  Plaintiffs’ expense.

                              COMMON FACTUAL ALLEGATIONS

         adidas’s Trademark Rights

         18.     adidas is currently, and for years has been, one of the world’s leading

  manufacturers of athletic footwear, apparel, and sporting equipment. adidas has used its famous

  and distinctive trademarks,             ,     ,       , Three-Stripe Mark, THE BRAND WITH

  THE 3 STRIPES Mark, CLIMALITE Mark, CLIMAWARM Mark, CLIMACOOL Mark,

  BOOST Mark, STAN SMITH Mark, and CLIMACHILL Mark (collectively, the “adidas

  Marks”), for many years in connection with the above-mentioned goods. The adidas Marks

  signify the quality and reputation of adidas products.




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         19.     adidas is the owner of multiple trademark registrations for the adidas Marks,

  including the following valid trademark registrations, issued by the United States Patent and

  Trademark Office:

                       Registration     Registration
     Trademark                                                        Class / Goods
                        Number             Date

                         0,870,136      May 27, 1969 IC25. Athletic Training Suits.

                                                     IC25. sport shoes namely, track and field
                                                     shoes, baseball, boxing, football, skating,
                                                     golf, and soccer shoes; sportswear
       ADIDAS            0,891,222      May 19, 1970 namely, suits, shorts, pants, tights, shirts,
                                                     gloves, and the like; jerseys; socks; sport
                                                     shoes namely, track and field training
                                                     shoes, basketball shoes, and tennis shoes.
                                                     IC 018. tote bags.
                                                     IC 25. specific purpose athletic shoes;
                                        November 20,
                         0,973,161                   general purpose sport shoes, sportswear-
                                            1973
                                                     namely, suits, shorts, pants, tights, shirts,
                                                     jerseys, socks, and gloves.
                                                     IC 025. Sportswear-Namely, Suits,
                                                     Shorts, Pants, Tights, Shirts, Jerseys,
                                         October 16,
                         1,300,627                   Socks, Gloves, Jackets, Coats,
                                            1984
                                                     Swimwear, Sweaters, Caps, Pullovers,
                                                     Warm-Up Suits, Boots, Shoes, Slippers.
                                                     IC 025. Sportswear-Namely, Suits,
                                                     Shorts, Pants, Tights, Shirts, Jerseys,
                                        December 18, Socks, Gloves, Jackets, Coats,
                         1,310,140
                                            1984     Swimwear, Sweaters, Caps, Pullovers,
                                                     Warm-Up Suits, Rain Suits, Ski Suits,
                                                     Jump Suits, Boots, Shoes, Slippers.
                                                     IC 025. boots, slippers, sandals; shoes,
    THE BRAND
                                         February 4, boots and after ski boots for hiking and
    WITH THE 3           1,674,229
                                            1992     trekking, athletic shoes and general-
     STRIPES
                                                     purpose sports shoes.
                                         December 7,
     CLIMALITE           1,809,301                      IC 025. Shirts.
                                            1993

                                        November 19, IC 025. Sports and leisure wear, namely
                         2,016,963
                                           1996      jackets.



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                                              IC 025. Sports and leisure wear, namely
                   2,058,619    May 6, 1997
                                              shirts.

                               September 21,
                   2,278,589                 IC 025. athletic and leisure footwear.
                                   1999

                               September 21, IC 25. sports and leisure wear, namely,
                   2,278,591
                                   1999      shorts.

                                October 12,   IC 025. sports and leisure wear, namely
                   2,284,308
                                   1999       pants.

                                            IC 025. Clothing, namely, sweaters, vests,
                                November 9,
   CLIMAWARM       2,290,958                sweat pants, jackets, caps, [ scarves and
                                   1999
                                            gloves ].
                                            IC 018. All purpose sport bags, athletic
                                            bags, traveling bags, backpacks,
                                            knapsacks.
                                            IC 025. Sports and leisure wear, namely,
                                            shorts, pants, shirts, T-shirts, jerseys,
                                            socks, gloves, jackets, swimwear, caps
                               December 12,
                   2,411,802                and hats, pullovers, sweat-shirts, sweat
                                  2000
                                            suits, track suits, warm-up suits; boots,
                                            sandals, specific purpose athletic shoes
                                            and general all purpose sports shoes.
                                            IC 028. Sports balls and playground balls;
                                            guards for athletic use, namely, shin
                                            guards, knee guards and leg guards.
                                            IC 025. Clothing, namely, footwear, sport
                                            shoes, headwear, shirts, T-shirts, jerseys,
                                            underwear, swimwear, shorts, pants,
                               November 19, skirts, sweaters, caps, hats, visors, warm
    CLIMACOOL      2,651,581
                                  2002      up suits, rain suits, ski suits, jumpsuits,
                                            boots, sandals, sweat shirts, jackets,
                                            uniforms, wrist bands and head bands,
                                            gloves and socks.
                               December 13,    IC 025. Clothing, namely, T-Shirts,
                   3,029,127
                                  2005         sweatshirts, jackets and coats.

                               December 13,
                   3,029,129                    IC 025. Footwear.
                                  2005




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                               December 13,
                   3,029,135                    IC 025. Footwear.
                                  2005
                                             IC 009. Optical apparatus and
                                             instruments, namely, eyeglasses and
                                             sunglasses.
                                             IC 014. Horological and chronometric
                                             instruments, namely, watches
                                             IC 018. Leather and imitations of leather,
                                             and goods made from these materials in
                                             the nature of bags for general and sport
                                             use, namely, handbags, tote bags, waist
                                             packs, overnight bags, backpacks,
                                             knapsacks and beach bags; trunks;
                                             traveling bags for general and sport use;
                                             leather and imitations of leather and
                                             goods made from these materials,
                   3,104,117   June 13, 2006
                                             namely, wallets, briefcases.
                                             IC 025. Sports and leisure wear, namely
                                             suits, shorts, pants, sweatpants, skirts,
                                             skorts, dresses, blouses, shirts, T-shirts,
                                             sleeveless tops, polo shirts, vests, jerseys,
                                             sweaters, sweatshirts, pullovers, coats,
                                             jackets, track suits, training suits, warm-
                                             up suits, swimwear, underwear, socks,
                                             gloves, scarves, wristbands and belts;
                                             headgear, namely caps, hats, visors,
                                             headbands; athletic footwear and leisure
                                             foot wear, namely boots, sandals, specific
                                             purpose athletic shoes and general
                                             purpose sports shoes.
                                February 24,   IC 025. Clothing, namely, shirts;
                   3,580,958
                                   2009        footwear


   STAN SMITH      3,590,187   March 17, 2009 IC 025. Footwear.


                                 August 12,    IC 025. Footwear; apparel, namely, shirts,
    CLIMACHILL     4,585,788
                                   2014        tops, shorts.




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  The adidas Marks are used in conjunction with the manufacture and distribution of quality goods

  in the categories identified above. True and correct copies of the Certificates of Registration for

  the adidas Marks are attached hereto as Composite Exhibit “1.”

         20.     The adidas Marks have been used in interstate commerce to identify and

  distinguish adidas products for an extended period of time and serve as symbols of adidas’s

  quality, reputation, and goodwill.

         21.     The adidas Marks are well-known and famous and have been for many years.

  adidas has expended substantial time, money and other resources developing, advertising and

  otherwise promoting the adidas Marks. Specifically, adidas has used the adidas Marks in

  connection with its frequent sponsorship of sports tournaments and organizations, as well as

  professional athletes and collegiate sports teams. For example, adidas has long-term

  relationships with the University of Nebraska, and the University of Louisville. Among many

  others, NBA stars Derrick Rose, James Harden, and Andrew Wiggins, NFL stars Von Miller,

  Aaron Rodgers, Dak Prescott, NHL star Sidney Crosby, baseball player Kris Bryant, and soccer

  stars David Beckman and Lionel Messi all are sponsored by adidas. For many years, adidas has

  been a sponsor of the World Cup soccer tournament, has sponsored the world-famous Boston

  Marathon for more than a decade, and has sponsored many other events, teams, and individuals.

  Prominent use of the adidas Marks in connection with these sponsorship activities has further

  enhanced the adidas Marks’ recognition and fame. The adidas Marks qualify as famous marks as

  that term is used in 15 U.S.C. §1125(c)(1).

         22.     adidas has extensively used, advertised, and promoted the adidas Marks in the

  United States in association with the sale of quality products. adidas has spent hundreds of

  millions of dollars promoting the adidas Marks and products bearing the adidas Marks. In recent



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  years, annual sales of products bearing the adidas Marks have totaled in the billions of dollars

  globally and in the hundreds of millions of dollars within the United States.

         23.     The adidas Marks have achieved secondary meaning as identifiers of quality

  goods as a result of adidas’s advertisement, promotion, and sale of such goods thereunder.

         24.     As a result of adidas’s efforts, members of the consuming public readily identify

  merchandise bearing or sold under the adidas Marks, as being quality merchandise sponsored

  and approved by adidas.

         25.     adidas has carefully monitored and policed the use of the adidas Marks and has

  never assigned or licensed the adidas Marks to any Defendant in this matter.

         26.     Genuine goods bearing the adidas Marks are widely legitimately advertised and

  promoted by adidas, authorized distributors and unrelated third parties via the Internet. Over the

  course of the past several years, visibility on the Internet, particularly via Internet search engines

  such as Google, Yahoo!, and Bing has become increasingly important to adidas’s overall

  marketing and consumer education efforts. Thus, adidas expends significant monetary resources

  on Internet marketing and consumer education, including search engine optimization (“SEO”)

  strategies. Those strategies allow adidas and its authorized retailers to fairly and legitimately

  educate consumers about the value associated with the adidas Marks and the goods sold

  thereunder. Similarly, Defendants’ individual seller stores and websites are indexed on search

  engines and compete directly with adidas for space in the search results.

         Defendants’ Infringing Activities

         27.     In blatant disregard of Plaintiffs’ rights, Defendants are promoting and

  advertising, distributing, selling and/or offering for sale goods in interstate commerce that bear

  counterfeit and confusingly similar imitations of the adidas Marks (the “Counterfeit Goods”)



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  through at least the Internet based e-commerce stores or commercial Internet websites operating

  under the Seller IDs and Subject Domain Names. Specifically, Defendants are using the adidas

  Marks to initially attract online consumers and drive them to Defendants’ ecommerce stores

  operating under the Seller IDs and Subject Domain Names. Defendants are using identical

  copies of one or more of the adidas Marks for different quality goods. Plaintiffs have used the

  adidas Marks extensively and continuously before Defendants began offering counterfeit and

  confusingly similar imitations of Plaintiffs’ merchandise.

         28.     Defendants’ Counterfeit Goods are of a quality substantially different than that of

  Plaintiffs’ genuine goods. Defendants are actively using, promoting and otherwise advertising,

  distributing, selling and/or offering for sale substantial quantities of their Counterfeit Goods with

  the knowledge and intent that such goods will be mistaken for the genuine quality goods offered

  for sale by Plaintiffs despite Defendants’ knowledge that they are without authority to use the

  adidas Marks. The net effect of Defendants’ actions is likely to cause confusion of consumers at

  the time of initial interest, sale, and in the post-sale setting, who will believe all of Defendants’

  goods offered for sale in Defendants’ e-commerce stores and websites are genuine goods

  originating from, associated with, and/or approved by Plaintiffs.

         29.     Defendants advertise their e-commerce stores and websites, including their

  Counterfeit Goods offered for sale to the consuming public via at least the e-commerce stores

  and websites under the Seller IDs and Subject Domain Names. In so advertising their stores and

  products, Defendants improperly and unlawfully use one or more of the adidas Marks without

  Plaintiffs’ permission.

         30.     As part of their overall infringement and counterfeiting scheme, most Defendants

  are, upon information and belief, employing and benefitting from substantially similar,



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  advertising and marketing strategies based, in large measure, upon an illegal use of counterfeits

  and infringements of the adidas Marks. Specifically, Defendants are using counterfeits and

  infringements of one or more of Plaintiffs’ famous names or trademarks in order to make their e-

  commerce stores and websites selling illegal goods appear more relevant and attractive to

  consumers searching for both Plaintiffs’ and non-Plaintiffs’ goods and information online. By

  their actions, Defendants are contributing to the creation and maintenance of an illegal

  marketplace operating in parallel to the legitimate marketplace for Plaintiffs’ genuine goods.

  Defendants are causing individual, concurrent and indivisible harm to Plaintiffs and the

  consuming public by (i) depriving Plaintiffs of their right to fairly compete for space online and

  within search engine results and reducing the visibility of Plaintiffs’ genuine goods on the World

  Wide Web, (ii) causing an overall degradation of the value of the goodwill associated with the

  adidas Marks, and/or (iii) increasing Plaintiffs’ overall cost to market their goods and educate

  consumers about their brands via the Internet.

         31.     Defendants are concurrently conducting and targeting their counterfeiting and

  infringing activities toward consumers and likely causing unified harm within this district and

  elsewhere throughout the United States. As a result, Defendants are defrauding Plaintiffs and the

  consuming public for Defendants’ own benefit.

         32.     At all times relevant hereto, Defendants in this action have had full knowledge of

  Plaintiffs’ ownership of the adidas Marks, including their, exclusive rights to use and license

  such intellectual property and the goodwill associated therewith.

         33.     Defendants’ use of the adidas Marks, including the promotion and advertisement,

  reproduction, distribution, sale and offering for sale of their Counterfeit Goods, is without

  Plaintiffs’ consent or authorization.



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         34.     Defendants are engaging in the above-described illegal counterfeiting and

  infringing activities knowingly and intentionally or with reckless disregard or willful blindness to

  Plaintiffs’ rights for the purpose of trading on Plaintiffs’ goodwill and reputations. If

  Defendants’ intentional counterfeiting and infringing activities are not preliminarily and

  permanently enjoined by this Court, Plaintiffs and the consuming public will continue to be

  harmed.

         35.     Defendants’ above identified infringing activities are likely to cause confusion,

  deception and mistake in the minds of consumers before, during, and after the time of purchase.

  Moreover, Defendants’ wrongful conduct is likely to create a false impression and deceive

  customers, the public, and the trade into believing there is a connection or association between

  Plaintiffs’ genuine goods and Defendants’ Counterfeit Goods, which there is not.

         36.     Moreover, at least Defendant Number 102 has registered its Subject Domain

  Name, using marks that are nearly identical and/or confusingly similar to at least one of

  Plaintiffs’ Marks, (the “Cybersquatted Subject Domain Name”).

         37.     Defendant Number 102 has registered and/or used the Cybersquatted Subject

  Domain Name with the bad faith intent to profit from Plaintiffs’ Marks.

         38.     Defendants do not have, nor have they ever had, the right or authority to use

  Plaintiffs’ Marks. Further, Plaintiffs’ Marks have never been assigned or licensed to be used on

  any of the websites operating under the Cybersquatted Subject Domain Name.

         39.     Upon information and belief, Defendant Number 102 has provided false and/or

  misleading contact information when applying for the registration of the Cybersquatted Subject

  Domain Name, or has intentionally failed to maintain accurate contact information with respect

  to the registration of the Cybersquatted Subject Domain Name.



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          40.    Defendant Number 102 has never used the Cybersquatted Subject Domain Name

  in connection with a bona fide offering of goods or services.

          41.    Defendant Number 102 has not made any bona fide non-commercial or fair use of

  Plaintiffs’ Marks on a website accessible under the Cybersquatted Subject Domain Name.

          42.    Defendant Number 102 has intentionally incorporated Plaintiffs’ Marks in its

  Cybersquatted Subject Domain Name to divert consumers looking for Plaintiffs’ Internet

  websites to its own Internet websites for commercial gain.

          43.    Given the visibility of Defendants’ various e-commerce stores and websites and

  the similarity of their actions, it is clear Defendants are either related, or at a minimum, cannot

  help but know of each other’s existence and the unified harm likely to be caused to Plaintiffs and

  the overall consumer market in which they operate as a result of Defendants’ concurrent actions.

          44.    Although some Defendants may be physically acting independently, they may

  properly be deemed to be acting in concert because the combined force of their actions serves to

  multiply the harm caused to Plaintiffs.

          45.    Defendants’ payment and financial accounts are being used by Defendants to

  accept, receive, and deposit profits from Defendants’ trademark counterfeiting and infringing

  and unfairly competitive activities connected to their Seller IDs and Subject Domain Names and

  any other alias seller identification names or domain names being used and/or controlled by

  them.

          46.    Further, Defendants are likely to transfer or secret their assets to avoid payment of

  any monetary judgment awarded to Plaintiffs.

          47.    Plaintiffs have no adequate remedy at law.




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         48.     Plaintiffs are suffering irreparable injury and have suffered substantial damages as

  a result of Defendants’ unauthorized and wrongful use of the adidas Marks. If Defendants’

  counterfeiting and infringing, cybersquatting, and unfairly competitive activities are not

  preliminarily and permanently enjoined by this Court, Plaintiffs and the consuming public will

  continue to be harmed.

         49.     The harm and damages sustained by Plaintiffs have been directly and proximately

  caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offers to sell, and

  sale of their Counterfeit Goods.

           COUNT I - TRADEMARK COUNTERFEITING AND INFRINGEMENT
             PURSUANT TO § 32 OF THE LANHAM ACT (15 U.S.C. § 1114)

         50.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 49 above.

         51.     This is an action for trademark counterfeiting and infringement against

  Defendants based on their use of counterfeit and confusingly similar imitations of the adidas

  Marks in commerce in connection with the promotion, advertisement, distribution, offering for

  sale and/or sale of the Counterfeit Goods.

         52.     Specifically, Defendants are promoting and otherwise advertising, selling,

  offering for sale, and distributing products using counterfeits and/or infringements of one or

  more of the adidas Marks. Defendants are continuously infringing and inducing others to

  infringe the adidas Marks by using one or more of them to advertise, promote, offer to sell,

  and/or sell counterfeit and infringing branded goods.

         53.     Defendants’ concurrent counterfeiting and infringing activities are likely to cause

  and actually are causing confusion, mistake, and deception among members of the trade and the

  general consuming public as to the origin and quality of Defendants’ Counterfeit Goods.

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          54.      Defendants’ unlawful actions have caused and are continuing to cause

  unquantifiable damages to Plaintiffs and are unjustly enriching Defendants with profits at

  Plaintiffs’ expense.

          55.      Defendants’ above-described illegal actions constitute counterfeiting and

  infringement of the adidas Marks in violation of Plaintiffs’ rights under § 32 of the Lanham Act,

  15 U.S.C. § 1114.

          56.      Plaintiffs have suffered and will continue to suffer irreparable injury and damages

  due to Defendants’ above described activities if Defendants are not preliminarily and

  permanently enjoined. Additionally, Defendants will continue to wrongfully profit from their

  illegal activities.

                     COUNT II - FALSE DESIGNATION OF ORIGIN
              PURSUANT TO § 43(a) OF THE LANHAM ACT (15 U.S.C. § 1125(a))

          57.      Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 49 above.

          58.      Defendants’ Counterfeit Goods bearing, offered for sale, and sold under copies of

  one or more of one of the adidas Marks have been widely advertised and offered for sale

  throughout the United States via the Internet.

          59.      Defendants’ Counterfeit Goods bearing, offered for sale, and sold using copies of

  one or more of the adidas Marks are virtually identical in appearance to Plaintiffs’ genuine

  goods. However, Defendants’ Counterfeit Goods are different in quality. Accordingly,

  Defendants’ activities are likely to cause confusion in the trade and among the general public as

  to at least the origin or sponsorship of their Counterfeit Goods.

          60.      Defendants have used in connection with their advertisement, offer for sale, and

  sale of the Counterfeit Goods, false designations of origin and false descriptions and

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  representations, including words or other symbols and trade dress which tend to falsely describe

  or represent such goods and have caused such goods to enter into commerce with full knowledge

  of the falsity of such designations of origin and such descriptions and representations, all to

  Plaintiffs’ detriment.

         61.     Defendants have authorized infringing uses of one or more of the adidas Marks in

  Defendants’ advertisement and promotion of their counterfeit and infringing branded goods.

  Defendants have also misrepresented to members of the consuming public that the Counterfeit

  Goods being advertised and sold by them are genuine, non-infringing goods.

         62.     Additionally, many Defendants are using counterfeits and infringements of one or

  more of the adidas Marks in order to unfairly compete with Plaintiffs and others for space within

  organic search engine and social media results, thereby jointly depriving Plaintiffs of a valuable

  marketing and educational tool which would otherwise be available to Plaintiffs and reducing the

  visibility of Plaintiffs’ genuine goods on the World Wide Web and across social media

  platforms.

         63.     Defendants’ above-described actions are in violation of Section 43(a) of the

  Lanham Act, 15 U.S.C. §1125(a).

         64.     Plaintiffs have sustained indivisible injury and damage caused by Defendants’

  concurrent conduct, and absent an entry of an injunction by this Court, Defendants will continue

  to wrongfully reap profits and each Plaintiff will continue to suffer irreparable injury to their

  goodwill and business reputations, as well as monetary damages.




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                COUNT III - CLAIM FOR RELIEF FOR CYBERSQUATTING
                 UNDER §43(d) OF THE LANHAM ACT (15 U.S.C. §1125(d))
                            (Against Defendant Number 102 only)

         65.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 49 above.

         66.     Defendant Number 102 has acted with the bad faith intent to profit from the

  adidas Marks and the goodwill associated with the adidas Marks by registering and using the

  Cybersquatted Subject Domain Name.

         67.     The adidas Marks were distinctive and famous at the time Number 102 registered

  the Cybersquatted Subject Domain Name.

         68.     The Cybersquatted Subject Domain Name is identical to, confusingly similar to or

  dilutive of one or more of the adidas Marks.

         69.     Defendant Number 102’s conduct is done with knowledge and constitutes a

  willful violation of Plaintiffs’ rights in the adidas Marks. At a minimum, Defendants’ conduct

  constitutes reckless disregard for and willful blindness to Plaintiffs’ rights.

         70.     Defendant Number 102’s actions constitute cybersquatting in violation of §43(d)

  of the Lanham Act, 15 U.S.C. §1125(d).

         71.     Plaintiffs have no adequate remedy at law and have each suffered and will

  continue to suffer irreparable injury and damage due to the above described activities of

  Defendant Number 102 if it is not enjoined




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                       COUNT IV - COMMON LAW UNFAIR COMPETITION

         72.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 49 above.

         73.     This is an action against Defendants based on their promotion, advertisement,

  distribution, sale, and/or offering for sale of goods using or bearing marks which are virtually

  identical to one or more of the adidas Marks in violation of Florida’s common law of unfair

  competition.

         74.     Specifically, Defendants are promoting and otherwise advertising, selling,

  offering for sale, and distributing goods bearing counterfeits and infringements of one or more of

  the adidas Marks. Defendants are also using counterfeits and infringements of one or more of

  the adidas Marks to unfairly compete with Plaintiffs and others for (i) space in search engine and

  social media results across an array of search terms and/or (ii) visibility on the World Wide Web.

         75.     Defendants’ infringing activities are likely to cause and actually are causing

  confusion, mistake, and deception among members of the trade and the general consuming

  public as to the origin and quality of Defendants’ ecommerce stores as a whole and all products

  sold therein by their use of the adidas Marks.

         76.     Plaintiffs have no adequate remedy at law and are suffering irreparable injury and

  damages as a result of Defendants’ actions.

                 COUNT V - COMMON LAW TRADEMARK INFRINGEMENT

         77.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 49 above.

         78.     This is an action for common law trademark infringement against Defendants

  based on their promotion, advertisement, offering for sale, and sale of their Counterfeit Goods



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  bearing one or more of the adidas Marks. Plaintiffs are the owners of all common law rights in

  and to the adidas Marks.

           79.   Specifically, Defendants are promoting and otherwise advertising, distributing,

  offering for sale, and selling goods using and bearing infringements of one or more of the adidas

  Marks.

           80.   Defendants infringing activities are likely to cause and actually are causing

  confusion, mistake and deception among members of the trade and the general consuming public

  as to the origin and quality of Defendants’ Counterfeit Goods bearing the adidas Marks.

           81.   Plaintiffs have no adequate remedy at law and are suffering damages and

  irreparable injury as a result of Defendants’ actions.

                                       PRAYER FOR RELIEF

           82.   WHEREFORE, Plaintiffs demand judgment on all Counts of this Complaint and

  an award of equitable relief and monetary relief against Defendants as follows:

                 a.      Entry of temporary restraining order, as well as preliminary and

  permanent injunctions pursuant to 15 U.S.C. § 1116 and Federal Rule of Civil Procedure 65

  enjoining Defendants, their agents, representatives, servants, employees, and all those acting in

  concert or participation therewith, from manufacturing or causing to be manufactured, importing,

  advertising or promoting, distributing, selling or offering to sell their Counterfeit Goods; from

  infringing, counterfeiting, or diluting the adidas Marks; from using the adidas Marks, or any

  mark or design similar thereto, in connection with the sale of any unauthorized goods; from

  using any logo, trade name or trademark or design which may be calculated to falsely advertise

  the services or goods of Defendants as being sponsored by, authorized by, endorsed by, or in any

  way associated with Plaintiffs; from falsely representing themselves as being connected with



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  Plaintiffs, through sponsorship or association, or engaging in any act which is likely to falsely

  cause members of the trade and/or of the purchasing public to believe any goods or services of

  Defendants are in any way endorsed by, approved by, and/or associated with Plaintiffs; from

  using any reproduction, counterfeit, infringement, copy, or colorable imitation of the adidas

  Marks in connection with the publicity, promotion, sale, or advertising of any goods sold by

  Defendants; from affixing, applying, annexing or using in connection with the sale of any goods,

  a false description or representation, including words or other symbols tending to falsely describe

  or represent Defendants’ goods as being those of Plaintiffs, or in any way endorsed by Plaintiffs

  and from offering such goods in commerce; from engaging in search engine optimization

  strategies using colorable imitations of Plaintiffs’ names or trademarks; and from otherwise

  unfairly competing with Plaintiffs.

                 b.      Entry of a temporary restraining order, as well as preliminary and

  permanent injunctions pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the Court’s

  inherent authority, enjoining Defendants and all third parties with actual notice of an injunction

  issued by the Court from participating in, including providing financial services, technical

  services or other support to, Defendants in connection with the sale and distribution of non-

  genuine goods bearing and/or using counterfeits of the adidas Marks.

                 c.      Entry of an order pursuant to 28 U.S.C §1651(a), The All Writs Act and

  the Court’s inherent authority, that, upon Plaintiffs’ request, the top level domain (TLD) Registry

  for each of the Subject Domain Names or their administrators, including backend registry

  operators or administrators, place the Subject Domain Names, and any other domains names

  being used and/or controlled by Defendants to engage in the business of marketing, offering to

  sell, and/or selling goods bearing counterfeits and infringements of the adidas Marks, on



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  Registry Hold status for the remainder of the registration period for any such domain name, thus

  removing them from the TLD zone files which link the Subject Domain Names, and any other

  domain names used by Defendants, to the IP addresses where the associated websites are hosted.

                  d.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

  the Court’s inherent authority, canceling for the life of the current registration or, at Plaintiffs’

  election, transferring the Subject Domain Names, and any other domain names used by

  Defendants to engage in their counterfeiting of the adidas Marks, to Plaintiffs’ control so they

  may no longer be used for illegal purposes.

                  e.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

  the Court’s inherent authority, that, upon Plaintiffs’ request, the applicable governing Internet

  marketplace website operators and/or administrators for the Seller IDs who are provided with

  notice of an injunction issued by the Court disable and/or cease facilitating access to the Seller

  IDs, and any other alias seller identification names being used and/or controlled by Defendants

  to engage in the business of marketing, offering to sell and/or selling goods bearing counterfeits

  and infringements of the adidas Marks.

                  f.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

  the Court’s inherent authority, that, upon Plaintiffs’ request, any Internet marketplace website

  operators and/or administrators for the Seller IDs, who are provided with notice of an injunction

  issued by the Court identify any e-mail address known to be associated with Defendants’

  respective Seller ID.




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                 g.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

  the Court’s inherent authority, that, upon Plaintiffs’ request, any Internet marketplace website

  operators and/or administrators who are provided with notice of an injunction issued by the

  Court permanently remove from the multiple platforms, which include, inter alia, a Direct

  platform, Group platform, Seller Product Management platform, Vendor Product Management

  platform, and Brand Registry platform, any and all listings and associated images of goods

  bearing counterfeits and/or infringements of the adidas Marks via the e-commerce stores

  operating under the Seller IDs, and upon Plaintiffs’ request, any other listings and images of

  goods bearing counterfeits and/or infringements of the adidas Marks associated with and/or

  linked to the same sellers or linked to any other alias seller identification names being used

  and/or controlled by Defendants to promote, offer for sale and/or sell goods bearing counterfeits

  and/or infringements of the adidas Marks.

                 h.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

  the Court’s inherent authority, that, upon Plaintiffs’ request, Defendants and any Internet

  marketplace website operators and/or administrators who are provided with notice of an

  injunction issued by the Court, immediately cease fulfillment of and sequester all goods of each

  Defendant bearing one or more of the adidas Marks in its inventory, possession, custody, or

  control, and surrender those goods to Plaintiffs.

                 i.      Entry of an order requiring Defendants to account to and pay Plaintiffs for

  all profits and damages resulting from Defendants’ trademark counterfeiting and infringing and

  unfairly competitive activities and that the award to Plaintiffs be trebled, as provided for under

  15 U.S.C. §1117, or, at Plaintiffs’ election with respect to Count I, that Plaintiffs be awarded

  statutory damages from each Defendant in the amount of two million dollars ($2,000,000.00) per



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  each counterfeit trademark used and product type sold, as provided by 15 U.S.C. §1117(c)(2) of

  the Lanham Act.

                 j.      Entry of an order requiring Defendant Number 102 to account to and pay

  Plaintiffs for all profits and damages resulting from Defendant Number 102’s cybersquatting

  activities and that the award to Plaintiffs be trebled, as provided for under 15 U.S.C. §1117, or, at

  Plaintiffs’ election with respect to Count III, that Plaintiffs be awarded statutory damages from

  Defendant Number 102 in the amount of one hundred thousand dollars ($100,000.00) per

  cybersquatted domain name used as provided by 15 U.S.C. §1117(d) of the Lanham Act.

                 k.      Entry of an award pursuant to 15 U.S.C. § 1117 (a) and (b) of Plaintiffs’

  costs and reasonable attorneys’ fees and investigative fees associated with bringing this action.

                 l.      Entry of an order that, upon Plaintiffs’ request, Defendants and any

  financial institutions, payment processors, banks, escrow services, money transmitters, or

  marketplace platforms, and their related companies and affiliates, identify and restrain all funds,

  up to and including the total amount of judgment, in all financial accounts and/or sub-accounts

  used in connection with the Seller IDs and Subject Domain Names or other alias seller

  identification or e-commerce store names, domain names, and/or websites used by Defendants

  presently or in the future, as well as any other related accounts of the same customer(s) and any

  other accounts which transfer funds into the same financial institution account(s), to be

  surrendered to Plaintiffs in partial satisfaction of the monetary judgment entered herein.

                 m.      Entry of an award of pre-judgment interest on the judgment amount.

                 n.      Entry of an order for any further relief as the Court may deem just and

  proper.




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  DATED: June 11, 2020.              Respectfully submitted,

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                                       SCHEDULE “A”




    [This page is the subject of Plaintiff’s Motion to File Under Seal. As such, this page has
                        been redacted in accordance with L.R. 5.4(b)(1)]




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